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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OKLAHOMA

      (1) ANTHONY PAOLERCIO, an individual, and                      )
      (2) DESTINY PAOLERCIO, an individual,                          )
                                                                     )
                                             Plaintiffs,             ) Case No.: 21-cv-00268-TCK-SH
                                                                     )
            vs.                                                      )
                                                                     )
      (1)   JEFF GRIMES, an individual,                              )
      (2)   TYLER REEDER, an individual,                             )
      (3)   LAURA SHOOPMAN, an individual, and                       )
      (4)   JASPER ESTATES HOMEOWNER’S                               )
            ASSOCIATION, INC., an Oklahoma not-for                   )
            Profit corporation,                                      )
                                                                     ) JURY TRIAL DEMANDED
                                             Defendants.             ) ATTORNEY LIEN CLAIMED

                                                COMPLAINT

            COMES NOW, the Plaintiffs, Anthony Paolercio and Destiny Paolercio, by and through

  their counsel of record, Joel A. LaCourse and Zachary M. Keen of LaCourse Law, PLLC, and

  hereby state their causes of action against the Defendants, Jeff Grimes, Tyler Reeder, Laura

  Shoopman, and the Jasper Estates Homeowner’s Association. In support of their causes of action,

  Plaintiffs allege, and state as follows:

                                PARTIES, JURISDICTION, AND VENUE

            1. Plaintiff Anthony Paolercio is a resident of Tulsa County, State of Oklahoma, at all

                  times relevant hereto.

            2. Plaintiff Destiny Paolercio is a resident of Tulsa County, State of Oklahoma, at all times

                  relevant hereto.

            3. Defendant Jeff Grimes, upon information and belief, is a resident of Tulsa County,

                  State of Oklahoma, at all times relevant hereto.


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        4. Defendant Tyler Reeder, upon information and belief, is a resident of Tulsa County,

           State of Oklahoma, at all times relevant hereto.

        5. Defendant Laura Shoopman, upon information and belief, is a resident of Tulsa County,

           State of Oklahoma, at all times relevant hereto.

        6. Defendant Jasper Estates Homeowners Association, Inc. is an Oklahoma Not for Profit

           Corporation at all times relevant hereto.

        7. At all times herein, Defendants Jeff Grimes, Tyler Reeder, and Laura Shoopman were

           acting in their capacity of Officers and Members of the Board of Jasper Estates

           Homeowners Association, Inc.

        8. This action is brought before this Court pursuant to 28 U.S.C. § 1331 to exercise subject

           matter jurisdiction as Plaintiffs are asserting, amongst other claims, a cause of action

           for violating the Federal Fair Housing Act.

        9. One of the Plaintiffs’ causes of action is for declaratory relief pursuant to and in

           accordance with Federal Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201-2202 to

           determine a real and justiciable controversy among the parties with respect to their

           rights and obligations, if any, under the Federal Fair Housing Act to make a reasonable

           accommodation for an emotional support animal, as described more fully below.

        10. Venue is proper under 28 U.S.C. § 1391 because the actions described herein occurred

           within the confines of the Northern District of Oklahoma.

        11. Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over all claims

           pleaded herein, because all claims form part of the same case or controversy.




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                        FACTS COMMON TO ALL CAUSES OF ACTION

        12. The Jasper Estates Homeowners Association, Inc. (hereinafter referred to as “the

           HOA”) was formed when the Jasper Estates development began.

        13. Plaintiffs Anthony and Destiny Paolercio own a lot within the Jasper Estates

           Development.

        14. Defendants Jeff Grimes, Tyler Reeder, and Laura Shoopman served as the Officers of

           the HOA at all times relevant hereto.

        15. Plaintiffs began building a chicken coop on their property to house chickens they were

           purchasing for use as emotional support animals to assist with Plaintiff Destiny

           Paolercio’s anxiety issues.

        16. Plaintiff Destiny Paolercio’s therapist documented her need for several emotional

           support chickens.

        17. On May 26, 2020, Plaintiff Anthony Paolercio spoke with Jeff Grimes, who was acting

           in his capacity as President of the HOA about the coop. At that time, Anthony Paolercio

           informed Mr. Grimes about his wife’s anxiety issues and requested a reasonable

           accommodation to the bylaws of the homeowner’s association bylaws to allow them to

           have a few hens.

        18. During that conversation, Jeff Grimes gave his verbal consent for the coop and

           chickens.

        19. On June 8, 2020, the HOA, through its President Jeff Grimes, made a formal request

           for documentation of the need for an emotional support animal from Destiny’s

           therapist.




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        20. On June 12, 2020, Destiny Paolercio asked Jeff Grimes about procedures that the HOA

           had in concern to the accommodation for her emotional support chickens.

        21. On June 13, 2020, Tyler Reeder, acting as Treasurer and a member of the HOA board,

           sent a letter to the Plaintiffs ordering them to remove the chicken coop while

           threatening them with several veiled threats. In acting this way, Mr. Reeder acted

           outside of the HOA Board’s procedures for handling violations of HOA covenants.

        22. On June 15, 2020, Plaintiff Anthony Paolercio submitted a written request to the HOA

           Board for a reasonable accommodation for Plaintiff Destiny Paolercio’s emotional

           support chickens and an additional evaluation from Plaintiff Destiny Paolercio’s

           therapist.

        23. On June 20, 2020, Plaintiffs met with the Defendants and attempted to resolve the

           issues. On that date, Plaintiffs submitted to the HOA a summary of their meeting,

           another written request for reasonable accommodation, and another evaluation from

           Destiny Paolercio’s therapist confirming the need for the emotional support chickens.

        24. On July 6, 2020, the Defendants claimed to have never received the emails from June

           20, 2020.

        25. On July 13, 2020, the Defendants emailed members of the HOA about new voting

           procedures.

        26. On August 23, 2020, Plaintiff Anthony Paolercio shared with the HOA board members

           an emotionally charged incident from Plaintiff Destiny Paolercio’s past which

           explained the need for an emotional support animal.

        27. That the HOA attorney admitted that a reasonable accommodation must be made to

           support Plaintiff Destiny Paolercio’s emotional support animal.



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        28. Between August 15, 2020 and September 19, 2020, the board of the HOA unilaterally

           disregarded previous voting results constructed a new ballot to address previous votes,

           including the authority to fine homeowners who fail to comply with HOA covenants.

        29. The HOA board members revealed Destiny Paolercio’s private need for an emotional

           support animal and defaming the Plaintiffs at an Association meeting on September 28,

           2020.

        30. On October 14, 2020, Plaintiff Destiny Paolercio was removed from her position on

           the Architecture Committee of the HOA in violation of an earlier promise that she

           would continue to serve on the architectural committee and that Defendant Tyler

           Reeder would step down in favor of another HOA member.

        31. On February 15, 2021, the HOA began fining Plaintiffs for their keeping the emotional

           support chickens and the coop on the premises and has continued to fine them through

           the filing of this Complaint.

                                      CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                                    (Declaratory Judgment)

        32. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

           if set forth and restated fully herein.

        33. Defendants attempted to force Plaintiffs to remove the chickens from their

           neighborhood.

        34. Defendants attempted to force Plaintiffs to keep the chickens inside.

        35. Defendants interfered with Plaintiffs’ quiet enjoyment of their property.




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         36. Plaintiffs provided the HOA with all appropriate documentation, including a

             reasonable written request and a letter from Destiny Paolercio’s therapist, that Plaintiff

             Destiny Paolercio was approved for five (5) emotional support chickens.

         WHEREFORE, premises considered, Plaintiffs pray that this Court grant relief in the form

  of a declaration of the Court that the HOA is barred from forcing Plaintiffs from emotional support

  chickens on their premises as warranted by Destiny Paolercio’s condition, award attorney’s fees

  and costs, accruing interest, and any other relief this Court deems equitable and just.

                                  SECOND CAUSE OF ACTION
                                 (Violation of the Fair Housing Act)

         37. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

             if set forth and restated fully herein.

         38. Plaintiffs submitted written requests and documentation from Plaintiff Destiny

             Paolercio’s therapist to the HOA regarding Plaintiff’s emotional support chickens.

         39. The HOA is a housing provider as provided in the Fair Housing Act, 42 U.S.C. §3601

             et seq.

         40. Defendants refused to make a reasonable accommodation for Plaintiff’s emotional

             support chickens.

         41. Defendants violated the Fair Housing Act.

         42. Plaintiffs suffered damages as a result of Defendants’ violations of the Fair Housing

             Act.

         WHEREFORE, premises considered, Plaintiffs pray that judgment be entered in their favor

  and against the Defendants, for compensatory damages in an amount exceeding $10,000.00, assess

  exemplary or punitive damages in an amount which is commensurate with the Defendants’

  financial status and sufficient to punish and make an example of them, and to deter others similarly

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  situated from like behavior, that they be awarded their costs and a reasonable attorney’s fee,

  accruing interest, and any other ancillary relief to which they may be entitled, including any relief

  deemed by this Court to be equitable and just.

                                    THIRD CAUSE OF ACTION
                                          (Retaliation)

         43. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

             if set forth and restated fully herein.

         44. Plaintiffs asserted their rights and insisted on a reasonable accommodation from the

             HOA for Plaintiff’s emotional support chickens.

         45. Defendants retaliated by engineering an election to remove Plaintiff Destiny Paolercio

             from the HOA’s Architectural Committee when she had been previously promised she

             would continue as a member of the committee.

         WHEREFORE, premises considered, Plaintiffs pray that judgment be entered in their favor

  and against the Defendants, for compensatory damages in an amount exceeding $10,000.00, assess

  exemplary or punitive damages in an amount which is commensurate with the Defendants’

  financial status and sufficient to punish and make an example of them, and to deter others similarly

  situated from like behavior, that they be awarded their costs and a reasonable attorney’s fee,

  accruing interest, and any other ancillary relief to which they may be entitled, including any relief

  deemed by this Court to be equitable and just.

                                 FOURTH CAUSE OF ACTION
                           (Intentional Infliction of Emotional Distress)

         46. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

             if set forth and restated fully herein.




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         47. The Defendants knew that Plaintiff Destiny Paolercio was in a vulnerable emotional

             state after her childhood trauma was revealed.

         48. Plaintiffs asked the HOA board members to keep these revelations private.

         49. Defendants continued to act in a manner that was harassing to Plaintiffs after this

             revelation.

         50. Defendants revealed Plaintiff’s emotional and medical status during the HOA member

             meeting on September 28, 2020.

         51. Defendant’s conduct was outrageous and intolerable in civilized society.

         WHEREFORE, premises considered, Plaintiffs pray that judgment be entered in their favor

  and against the Defendants, for compensatory damages in an amount exceeding $10,000.00, assess

  exemplary or punitive damages in an amount which is commensurate with the Defendants’

  financial status and sufficient to punish and make an example of them, and to deter others similarly

  situated from like behavior, that they be awarded their costs and a reasonable attorney’s fee,

  accruing interest, and any other ancillary relief to which they may be entitled, including any relief

  deemed by this Court to be equitable and just.

                                    FIFTH CAUSE OF ACTION
                                       (Invasion of Privacy)

         52. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

             if set forth and restated fully herein.

         53. Defendants informed their neighbors and fellow HOA members that Destiny Paolercio

             suffered from childhood trauma and that she needed the chickens as emotional support

             animals to help her address the trauma.

         54. Plaintiffs disclosed this information to the HOA board members in confidence, and it

             was expected that these facts were private.

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         55. The disclosure of this information was highly offensive to a reasonable person because

             it was completely unnecessary, and its only purpose was to incite Plaintiffs’ neighbors

             against them.

         56. Defendants’ conduct was outrageous and intolerable in civilized society.

         WHEREFORE, premises considered, Plaintiffs pray that judgment be entered in their favor

  and against the Defendants, for compensatory damages in an amount exceeding $10,000.00, assess

  exemplary or punitive damages in an amount which is commensurate with the Defendants’

  financial status and sufficient to punish and make an example of them, and to deter others similarly

  situated from like behavior, that they be awarded their costs and a reasonable attorney’s fee,

  accruing interest, and any other ancillary relief to which they may be entitled, including any relief

  deemed by this Court to be equitable and just.

                                    SIXTH CAUSE OF ACTION
                                       (Vicarious Liability)

         57. Plaintiffs hereby incorporate and restate the foregoing paragraphs of this Complaint as

             if set forth and restated fully herein.

         58. At all times herein, Defendants Jeff Grimes, Tyler Reeder, and Laura Shoopman were

             acting as Officers and Members of the Board of Directors for the HOA.

         59. That Defendant Jasper Estates Homeowner’s Association, Inc., as the principal of the

             other Defendants listed herein, is vicariously liable for the acts of the Defendants

             against Plaintiffs.

         WHEREFORE, premises considered, Plaintiffs pray that judgment be entered in their favor

  and against the Defendants, for compensatory damages in an amount exceeding $10,000.00, assess

  exemplary or punitive damages in an amount which is commensurate with the Defendants’

  financial status and sufficient to punish and make an example of them, and to deter others similarly

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  situated from like behavior, that they be awarded their costs and a reasonable attorney’s fee,

  accruing interest, and any other ancillary relief to which they may be entitled, including any relief

  deemed by this Court to be equitable and just.

                                                                Respectfully submitted,

                                                                LaCourse Law, PLLC

                                                                /s/ Joel A. LaCourse
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